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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

   In re:                                           §
                                                    §       Case No. 23-10164-smr
   ASTRALABS, INC.,                                 §
                                                    §       Chapter 7
             Debtor.                                §

                                TRUSTEE’S WITNESS AND EXHIBIT
                               LIST FOR JANUARY 26, 2024 HEARING

  TO THE HONORABLE SHAD M. ROBINSON, U.S. BANKRUPTCY JUDGE, AND TO ALL
  PARTIES:

            Randolph N. Osherow, not individually but in his capacity as the duly appointed chapter 7

  trustee (in such capacity, the “Trustee”), for and on behalf of ASTRALABS, Inc. (the “Debtor”),

  hereby submits this Witness and Exhibit List in connection with the hearing to be held on

  January 26, 2024, at 10:00 a.m. (prevailing Central Time) (the “Hearing”), to consider:

            (a)    Objection and Reservation of Rights of CollectiveCrunch Oy to the
                   Chapter 7 Trustee’s Notice of Entry of Order (I) Approving Notice, Sale,
                   and Executory Contract Procedures for Sale of Designated Securities
                   Warrants, Free and Clear of All Liens, Claims, and Encumbrances; and
                   (II) Scheduling Final Sale Hearing [Docket No. 370];

            (b)    Notice of Trustee’s Receipt of Objections to Notice of Entry of Order
                   (I) Approving Notice, Sale, and Executory Contract Procedures for Sale of
                   Designated Securities Warrants, Free and Clear of All Liens, Claims, and
                   Encumbrances; and (II) Scheduling Final Sale Hearing [Docket No. 372];
                   and

            (c)    any other matters taken up by the Court at the Hearing.

                                               WITNESSES

            The Trustee reserves all rights to call any or all of the following as witnesses at the Initial

  Hearing, including but not limited to by affidavit, declaration, transcript, or proffer.

            1.      Randolph Osherow, Trustee;

            2.      Chad Harding, Managing Partner, PEAK Technology Partners, LLC;



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         3.       Nihar Patel, former Chief Financial Officer for the Debtor;

         4.       Joshua Lawton, former Chief Operating Officer for the Debtor;

         5.       Any witness called or designated by any other party; and

         6.       Any rebuttal witnesses, as appropriate.

                                             EXHIBITS

         The Trustee reserves all rights to introduce and/or request judicial notice of any or all of

  the following Exhibits as evidence at the Hearing, each as may be amended, and expressly

  including any filed responses thereto, and any exhibits, schedules, addenda, and any and all other

  attachments or amendments thereto and thereof:




                                                                                MARKED

                                                                                         OFFERED

                                                                                                   OBJECT

                                                                                                            ADMIT
   No.    Description



          Trustee’s Certificate of Service (Notice of Entry of Order
          (I) Approving Notice, Sale, and Executory Contract Procedures
    1.    for Sale of Designated Securities Warrants, Free and Clear of All
          Liens, Claims, and Encumbrances; and (II) Scheduling Final Sale
          Hearing) [Docket No. 360]

          Notice of Trustee’s Receipt of Objections [Docket No. 372]

    2.        •   2-A - P. Ulmann / b-science.net LLC
              •   2-B - S. Singh / FLYX Entertainment Inc.
              •   2-C - V. Hey / Ok Away Pty Ltd.

          E-mail Correspondence Among S. Singh, C. Harding, J. Ong, and
    3.
          A. Nguyen, January 10–16, 2024 (re: FLYX Entertainment Inc.)

    4.    FLYX Entertainment Inc. Warrant (Sale Asset List No. 127)

          E-mail Correspondence Among V. Hey, J. Ong, and A. Nguyen,
    5.
          January 16–17, 2024 (re: Ok Away Pty Ltd.)

    6.    Ok Away Ptd Ltd. Warrant

          E-mail Correspondence Among R. Vandegriend, J. Ong, and
    7.
          A. Nguyen, January 8–18, 2024 (re: Arya Health Records)


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                                                                             MARKED

                                                                                      OFFERED

                                                                                                OBJECT

                                                                                                         ADMIT
   No.    Description



    8.    Arya Health Records Warrant (Sale Asset List No. 29)

          E-mail Correspondence Between C. Harding, O. Elmorich, J. Ong,
    9.    and A. Nguyen, January 11–18, 2024 (The Eventors Inc.) (Sale
          Asset List No. 153) (For illustrative / exemplary purposes only)

          E-mail Correspondence Between A. Wang and J. Ong, January 16,
    10.   2024 (EmberFund) (Sale Asset List No. 103) (For illustrative /
          exemplary purposes only)

          E-mail Correspondence Among R. Chen, J. Ong and A. Nguyen,
    11.   January 8–16, 2024 (AutoBizLine, Inc.) (For illustrative /
          exemplary purposes only)

    12.   (Draft Proposed) Amended List of Sale Assets

    13.   Redline of (Draft Proposed) Amended List of Sale Assets

    14.   Agreed / Proposed Insert re: Final Sale Order (J. Binford)

          Any and all Motions, Notices, pleadings, and other docket items
    15.
          filed of record in the Bankruptcy Case

    16.   Any and all exhibits designated by any other party

          Any and all other exhibits as may be appropriate for rebuttal or
    17.
          impeachment purposes




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  Dated: January 19, 2024                    Respectfully submitted,

                                             By: /s/ Jay H. Ong
                                               Jay H. Ong
                                               Texas Bar No. 24028756
                                               Thanhan Nguyen
                                               Texas Bar No. 24118479
                                               MUNSCH HARDT KOPF & HARR, P.C.
                                               1717 West 6th Street, Suite 250
                                               Austin, Texas 78703
                                               Telephone: (512) 391-6100
                                               Facsimile: (512) 391-6149
                                               Email:       jong@munsch.com
                                                            anguyen@munsch.com

                                             Counsel For Randolph N. Osherow,
                                             Chapter 7 Trustee




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                                      CERTIFICATE OF SERVICE

          The undersigned hereby certifies that, on the 19th day of January 2024, he personally
  caused true and correct copies of the foregoing document to be served by electronically filing it
  with the Court using the Court’s CM/ECF system, which sent notification to the parties receiving
  same through such system. A true and correct copy of the document, together with the listed
  exhibits, was also served via electronic mail on the following parties:

         Robert Chamless Lane on behalf of Debtor ASTRALABS Inc
         chip.lane@lanelaw.com

         Ron Satija on behalf of Andrew Ryan
         rsatija@haywardfirm.com

         Shane P. Tobin on behalf of U.S. Trustee United States Trustee - AU12
         shane.p.tobin@usdoj.gov

         Jason Binford on behalf of various Warrant counterparties
         jason.binford@rsbfirm.com

         P. Ulmann on behalf of b-science.net LLC
         pirmin@b-science.net

         S. Singh on behalf of FLYX Entertainment Inc.
         shashank@bakstage.ai

         V. Hey on behalf of Ok Away Pty Ltd.
         veronica@okaway.co

         Richard Vandegriend on behalf of Arya Health Records
         rvandegriend@aryaehr.com

                                                      By: /s/ Thanhan Nguyen
                                                             Thanhan Nguyen, Esq.




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